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                                 IN THE UNITED STATES DISTRICT COURT
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                                    FOR THE DISTRICT OF MARYLAND                 ,ELT

       UNITED STATES OF AMERICA                                                            DEPUPf C

                V.                                        CRIMINAL NO. PX-17-0382

       CARLOS ROBERTO TEJADA-CRUZ,                        (Conspiracy to Participate in a
          a/k/a Milton Ernesto Cabrera-Cruz,              Racketeering Enterprise, 18 U.S.C.
          a/k/a "Krusty,"                                 § 1962(d); Conspiracy to Commit
       KEVIN ALEXIS HERNANDEZ-                            Murder in Aid of Racketeering,
       GUEVARA,                                           18 U.S.C. § 1959(a)(5); Conspiracy
          a/k/a "Stop,"                                   to Distribute and to Possess with
       ROLANDO ARISTIDES JUAREZ-                          Intent to Distribute Controlled
       VELASQUEZ,                                         Substances, 21 U.S.C. § 846;
          a/k/a Rolando Aristides Juarez-                 Conspiracy to Interfere with
          Vasquez,                                        Interstate Commerce by Extortion,
          a/k/a "Virus,"                                  18 U.S.C. § 1951(a); Forfeiture,
          a/k/a "Daffy,"                                  18 U.S.C. § 924(d), 21 U.S.C. § 853,
       JEFFRY RODRIGUEZ,                                  28 U.S.C. § 2461(c))
         a/k/a "Hyper, 99
       JUNIOR NOE ALVARADO-
       REQUENO,
          a/k/a "Insolente,"
          a/k/a "Trankilo,"
       MICHAEL EDUARDO CONTRERAS,
          a/k/a "Katra,"
          a/k/a "Insoportable,99
       LUIS FERNANDO ORELLANA-
       ESTRADA,
          a/k/a "Pinguino,"
       DONALD ROBERTO MENDEZ-
       LOPEZ,
          a/k/a "Chuckie,"
       KEVIN ALEXANDER SORIANA-
       HERNANDEZ,
         a/k/a "Brosha,"
       CARLOS DANIEL CARDENAS-
       BANEGAS,
          a/k/a "Perrico," and
       WILFREDO CARDENAS-BANEGAS,
          a/k/a "Torro,"
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 LUIS ARNOLDO FLORES-REYES,
   a/k/a "Maloso,"
   a/k/a "Lobo,"

                Defendants



                           SIXTH SUPERSEDING INDICTMENT

                                       COUNT ONE
                  (Conspiracy to Participate in a Racketeering Enterprise)

                    The Grand Jury for the District of Maryland charges that:

                    At all times relevant to this Sixth Superseding Indictment:

                                          Introduction

        1.     La Mara Salvatrucha, also known as the MS-13 gang ("MS-13"), was a gang

composed primarily of immigrants or descendants of immigrants from El Salvador, with

members operating in the State of Maryland, including in Montgomery County and Prince

 George's County, and throughout the United States.

       2.      The name "Mara Salvatrucha" was a combination of several slang terms. The

word "Mara" was the term used in El Salvador for "gang." The phrase "Salvatrucha" was a

combination of the words "Salva," which was an abbreviation for "Salvadoran," and "trucha,"

which was a slang term for "fear us," "look out," or "heads up."

       3.      In the United States, MS-13 has been functioning since at least the 1980s. MS-13

originated in Los Angeles, California, where MS-13 members banded together for protection

against the larger Mexican groups. MS-13 evolved into a gang that engaged in turf wars for the

control of drug distribution locations. MS-13 quickly spread to states across the country,

including Maryland.


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       4.      MS-13 was a national and international criminal organization and was one of the

largest street gangs in the United States. Gang members actively recruited members, including

juveniles, from communities with a large number of Salvadoran immigrants.

       5.      CARLOS ROBERTO TEJADA-CRUZ, a/k/a Milton Ernesto Cabrera-Cruz,

a/k/a "'Crusty"; KEVIN ALEXIS HERNANDEZ-GUEVARA, a/k/a "Stop"; ROLANDO

ARISTIDES JUAREZ- VELASQUEZ, a/k/a Rolando Aristides Juarez-Vasquez, a/k/a

"Virus," aka "Daffy"; JEFFRY RODRIGUEZ, a/k/a "Hyper"; JUNIOR NOE

ALVARADO-REQUENO, a/k/a "Insolente," a/k/a "Trankilo"; MICHAEL EDUARDO

CONTRERAS, a/k/a "Katra," a/k/a "Insoportable"; LUIS FERNANDO ORELLANA-

ESTRADA, a/k/a "Pinguino"; DONALD ROBERTO MENDEZ-LOPEZ, a/k/a "Chuckle";

KEVIN ALEXANDER SORIANA-HERNANDEZ, a/k/a "Brosha"; CARLOS DANIEL

CARDENAS-BANEGAS ("C. CARDENAS-BANEGAS"), a/k/a "Perrico"; 'VVILFREDO

CARDENAS-BANEGAS ("W. CARDENAS-BANEGAS"), a/k/a "Torro," and LUIS

ARNOLDO FLORES-REYES, a/k/a "Maloso," a/k/a "Lobo" were members and associates

of MS-13.

      6.       Members of MS-13 from time to time signified their membership by wearing

tattoos reading "MARA SALVATRUCHA," "MS," "MS-13," or similar tattoos, often written in

gothic lettering. Members also signified their membership through tattoos of devil horns in

various places on their bodies. Members and associates sometimes avoided conspicuous MS-13

tattoos, instead wearing discreet ones such as "503," spider webs, three dots in a triangle

formation signifying "mi vida loca," or clown faces with phrases such as "laugh now, cry later."

Some MS-13 members and associates have chosen not to have tattoos at all, or to have them



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placed on areas such as the hairline where they can be easily covered, in order to conceal their

gang affiliation from law enforcement.

        7.     The gang colors of MS-13 were blue, black, and white, and members often wore

clothing, particularly sports jerseys, with the number "13," or with numbers that, when added

together, totaled 13, such as "76." MS-13 members and associates also wore blue and white

clothing to represent their allegiance, including blue and white shoes such as the Nike "Cortez."

As with tattoos, some MS-13 members and associates have selected more discreet ways of

dressing in order to signify their membership and at the same time, avoid detection by law

enforcement.

       8.      MS-13 members and associates referred to one another by their "gang names," or

monikers, and often did not know fellow gang members and associates except by their monikers.

       9.      Members and associates of MS-13 were expected to protect the name, reputation,

and status of the gang from rival gang members and other persons. MS-13 members required that

all individuals show respect and deference to the gang and its membership. To protect the gang

and to enhance its reputation, MS-13 members and associates were expected to use any means

necessary to force respect from those who showed disrespect, including acts of intimidation and

violence. MS-13 had mottos consistent with its rules, beliefs, expectations, and reputation

including "mata, viola, controla," which translates as, "kill, rape, control," and, "ver oir y

callar," which means, "see nothing, hear nothing and say nothing."

       10.     Members and associates of MS-13 frequently engaged in criminal activity,

including, but not limited to, murder, assault, extortion, and dealing in illegal controlled

substances. MS-13 members and associates were required to commit acts of violence to



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maintain membership and discipline within the gang, as well as against rival gang members.

Participation in criminal activity by a member or associate, particularly in violent acts directed at

rival gangs or as directed by gang leadership, increased the respect accorded to that member or

associate, resulted in that member or associate maintaining or increasing his position in the gang,

and opened the door to a promotion to a leadership position. One of the principal rules of MS-13

was that its members, and persons seeking to become members, must attack and kill rivals

whenever possible. Rivals were often referred to as "chavalas." MS-13, in the areas of Prince

George's County and Montgomery County, Maryland, maintained rivalries with the 18th Street

Gang, Latin Kings, Adelphi Crew, and Lewisdale Crew, among others.

         11.   Prospective members who sought to join MS-13 were required to complete an

initiation process. Individuals who associated with and were friends of the gang were called

"paisas." Individuals who did favors and other acts for the gang were called "paros." Persons

being observed by the gang for potential membership were known as "observations."

Individuals who had advanced to the final level before being "jumped in" were called

"chequeos," or "cheqs." Chequeos underwent a probationary period during which they were

required to commit crimes on behalf of MS-13 to achieve trust and prove their loyalty to the

gang. To join MS-13 and become full members or "homeboys," prospective members were

required to complete an initiation process, often referred to as being "jumped in" or "beat in" to

the gang. During that initiation, other members of MS-13 would beat the new member, usually

until a gang member finished counting aloud to the number thirteen, representing the "13" in

MS-13.




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        12.    MS-13 was an international criminal organization, and was organized in

Maryland and elsewhere into "cliques," that is, smaller groups operating in a specific city or

region. Cliques operated under the umbrella rules of MS-13. MS-13 cliques often worked

together cooperatively to engage in criminal activity and to assist one another in avoiding

detection by law enforcement. In Maryland and the surrounding area, these cliques included

Sailors Locos Salvatrucha Westside ("SLSW" or "Sailors"), Parkview Locos Salvatrucha

("PVLS"), Normandie Locos Salvatrucha ("NLS" or "Normandie"), Langley Park Salvatrucha

("LPS"), Weedoms Locos Salvatrucha ("Weedoms"), and Cabanas Locos Salvatruchas

("Cabanas").

        13.    TEJADA-CRUZ, HERNANDEZ-GUEVARA, JUAREZ-VELASQUEZ,

RODRIGUEZ, ALVARADO-REQUENO, CONTRERAS, ORELLANA-ESTRADA,

MENDEZ-LOPEZ, SORIANA-HERNANDEZ, C. CARDENAS-BANEGAS,

W. CARDENAS-BANEGAS and FLORES-REYES were members and associates of the

Sailors Clique of MS-13.

        14.    Each clique was presided over by the "First Word," the leader or president of the

clique. The leader was also referred to as "Primer° Palabra," or "Shotcaller," or "Corredor," or

"Runner." The "Second Word," or "Segundo Palabra," was the second-in-command of the

clique. General members were required to take orders from the First Word or Runner and Second

Word.

        15.    MS-13 cliques kept in contact and reported to the supreme Runners for their

respective cliques, who were oftentimes based in El Salvador. Cliques contacted their leaders

based in El Salvador using mobile telephones during clique meetings to keep them updated on



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gang business, for advice, and to resolve disagreements regarding operations among local

cliques. Incarcerated clique leaders based in El Salvador regularly communicated and directed

orders to Maryland-based cliques through phones smuggled into Salvadoran prisons.

       16.     MS-13 members and associates met on a regular basis to, among other things,

discuss gang affairs and report on acts of violence committed by their members, with the goal of

inciting and encouraging further violence. Each clique held clique meetings where business

specific to that clique was discussed. Any perceived indiscretions by members and associates or

violations of MS.. 13 rules were talked about at clique meetings and punishments known as

"courts" or "violations" were issued. Courts or violations often took the form of beatings by

fellow MS-13 members. More serious violations resulted in the issuance of a "greenlight." A

greenlight was an order and/or approval to kill.

       17.     MS-13 leaders from various cliques also held regional meetings to discuss issues

between cliques and discuss criminal ventures among the cliques. Clique leaders from across the

United States, from other countries, and within regions of the United States would meet or

communicate by telephone conference to discuss gang rules and gang business, to resolve

problems or issues among cliques and gang members of different cliques, and to unite gang

members from across the country.

       18.     MS-13 cliques would combine and work together for various purposes known as

"programs." A person within the participating cliques would be selected as program leader.

       19.     MS-13 received money and income from sources including member dues and the

extortion, or "taxing," of brothels and other illegitimate businesses. Such funds, often referred to

by MS-13 members and associates as "rent," were used for gang purposes, including obtaining



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weapons and providing support for MS-13 gang members who were imprisoned in the United

States, both inside and outside of Maryland, and in El Salvador.

        20.    MS-13 members and associates communicated about gang activities with other

MS-13 members and associates in Maryland and elsewhere using mobile telephones, text

messages, social media such as Facebook and e-mail accounts, and other modes of

communication. Further, MS-13 members and associates would promote MS-13 and its activities

through the creation and dissemination of rap songs and other communication facilitated by

various internet means. Additionally, MS-13 members and associates used transnational and

international money wire transfers to conduct and promote gang activities.

                                  The Racketeering Enterprise

        21.    MS-13, including its leadership, membership, and associates, constituted an

enterprise as defined in 18 U.S.C. § 1961(4), that is, a group of individuals associated in fact that

engaged in, and the activities of which affected, interstate and foreign commerce ("the

Enterprise"). The Enterprise constituted an ongoing organization whose members and associates

functioned as a continuing unit for a common purpose of achieving the objectives of the

Enterprise.

                                    Purposes of the Enterprise

        22.    The purposes of the Enterprise included:

               a.      Preserving and protecting the power, territory, and profits of the Enterprise

through the use of intimidation and violence, including assaults, murders, and threats of violence;

               b.      Promoting and enhancing the Enterprise and its members' and associates'

activities;



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               c.        Enriching the members and associates of the Enterprise through extortion

and the distribution of controlled substances;

               d.        Keeping victims and potential witnesses in fear of the Enterprise and in

fear of its members and associates through threats of violence and actual violence; and

               e.        Providing assistance to members and associates in order to hinder,

obstruct, and prevent law enforcement officers from identifying offenders, apprehending

offenders, and trying and punishing offenders.

                               Means and Methods of the Enterprise
       23.     Among the means and methods by which the defendants and others conducted

and participated in the conduct of the affairs of the Enterprise were the following:

               a.        Members and associates of the Enterprise used, attempted to use, and

conspired to use extortion;

               b.        Members and associates of the Enterprise obtained and distributed

controlled substances;

               c.        Members and associates of the Enterprise committed, attempted, and

threatened to commit acts of violence, including murder, to protect and expand the Enterprise's

criminal operations;

               d.        Members and associates of the Enterprise promoted a climate of fear

through violence and threats of violence; and

               e.        Members and associates of the Enterprise used and threatened to use

physical violence against various individuals.




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                                The Racketeering Conspiracy

       24.     Beginning on a date unknown to the Grand Jury, but at least prior to in or about

2015, and continuing through at least in or about January 2018, in the District of Maryland and

elsewhere,

                         CARLOS ROBERTO TEJADA-CRUZ,
                           a/k/a Milton Ernesto Cabrera-Cruz,
                                      a/k/a "Krusty,"
                       KEVIN ALEXIS HERNANDEZ-GUEVARA,
                                        a/k/a "Stop,"
                     ROLANDO ARISTIDES JUAREZ-VELASQUEZ,
                         a/k/a Rolando Aristides Juarez-Vasquez,
                                       a/k/a "Virus,"
                                       a/k/a "Daffy,"
                                 JEFFRY RODRIGUEZ,
                                      a/k/a "Hyper,"
                        JUNIOR NOE ALVARADO-REQUENO,
                                     a/k/a "Insolente,"
                                     a/k/a "Trankilo,"
                         MICHAEL EDUARDO CONTRERAS,
                                       a/k/a "Katra,"
                                   a/k/a "Insoportable,"
                      LUIS FERNANDO ORELLANA- ESTRADA,
                                     a/k/a "Pinguino,"
                        DONALD ROBERTO MENDEZ-LOPEZ,
                                     a/k/a "Chuckie,"
                     KEVIN ALEXANDER SORIANA- HERNANDEZ,
                                        a/k/a "Brosha,"
                       CARLOS DANIEL CARDENAS-BANEGAS,
                                        a/k/a "Perrico,"
                         WILFREDO CARDENAS-BANEGAS,
                                      a/k/a "Torro," and
                            LUIS ARNOLDO FLORES-REYES,
                                        a/k/a "Maloso,"
                                         a/k/a "Lobo,"

being persons employed by and associated with MS-13, an enterprise engaged in, and the

activities of which affected, interstate and foreign commerce, together with others known and

unknown to the Grand Jury, did knowingly and intentionally conspire to conduct and participate,


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directly and indirectly, in the conduct of the affairs of MS-13 through a pattern of racketeering

activity, as defined in 18 U.S.C. §§ 1961(1) and (5), which pattern of racketeering activity

consisted of: (1) multiple acts involving murder, in violation of Maryland Code, Criminal Law

§§ 1-201, 1-202, 2-201, 2-204, 2-205, and 2-206, and the Common Law of Maryland, punishable

pursuant to Maryland Code, Criminal Law §§ 1-201, 1-202, 2-201, 2-204, 2-205, and 2-206; and

in violation of Texas Penal Code §§ 19.02, 15.01, 15.02, 7.01 and 7.02; (2) multiple acts

involving extortion, in violation of Maryland Code, Criminal Law §§ 3-701 and 3-705, and the

Common Law of Maryland; (3) multiple acts involving robbery, in violation of Maryland Code,

Criminal Law §§ 3-402 and 3-403; and (4) multiple offenses involving drug trafficking in

violation of 21 U.S.C. §§ 841 and 846. It was part of the conspiracy that each defendant agreed

that a conspirator would commit at least two acts of racketeering in the conduct of the affairs of

the Enterprise.

                       Manner and Means of the Racketeering Conspiracy

       25.        Among the manners and means used by the defendants and their co-conspirators

to achieve the objects of the conspiracy were the following:

                  a.     MS-13 members and associates met and communicated about, among

other things: the structure and organization of the gang; past criminal acts committed against

rival gang members and others; MS-13 members and associates who were arrested or

incarcerated; the disciplining of MS-13 members and associates; police interactions with MS-13

members and associates; the identities of individuals suspected of cooperating with law

enforcement and the proposed actions to be taken against them; plans and agreements regarding




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the commission of future crimes, as well as ways to conceal these crimes; and the enforcement of

gang rules.

               b.      MS-13 members and associates agreed to purchase, maintain, and

circulate weapons and firearms for use in criminal activity by MS-13 members.

               c.      MS-13 members and associates received money and income from sources

including the extortion of persons engaged in business activities, and the distribution of

controlled substances. Such funds were used for gang purposes such as obtaining weapons and

providing support for MS-13 gang members, including those imprisoned in the United States

(inside and outside of Maryland) and in El Salvador.

               d.      MS-13 members and associates agreed that acts of violence, including

murder and attempted murder, would be committed by members and associates of MS-13 against

rival gang members and others when it suited the Enterprise's purposes. MS-13 members and

associates also used violence to impose discipline within the gang.

               e.      MS-13 members and associates would obstruct justice and harm, threaten,

and intimidate witnesses and victims who cooperated with law enforcement.

               f.      MS-13 members and associates would investigate rival gang members or

other persons targeted for violence; would obtain information about such targets, including

locations frequented by them; and would use such information in their plans to attack such

targets.

               g.      MS-13 members and associates agreed that acts involving murder,

including conspiracy and attempts to commit murder, and other acts of violence, would be

committed by members and associates of MS-13 against rival gang members and persons



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deemed as threats to MS-13 and for the purpose of imposing discipline within the gang, and on

other occasions as deemed necessary.

                                            Overt Acts

       26.     In furtherance of the conspiracy, and to effect the illegal objects thereof, the

defendants and their co-conspirators performed, participated in, and did the following acts,

among others, in the District of Maryland and elsewhere:

               a.     Between in or about 2015 and in or about 2017, in the Langley Park area

of Prince George's County, Maryland and the Wheaton area of Montgomery County, Maryland,

JUAREZ-VELASQUEZ, CONTRERAS, ORELLANA-ESTRADA, MENDEZ-LOPEZ,

FLORES-REYES and other MS-13 members and associates extorted sums of money from

persons including owners and operators of illegal businesses, including brothels, illegal food and

beer stores, and drug dealers, the proceeds of which benefited the gang.

               b.     Between in or about 2015 and in or about 2017, TEJADA-CRUZ,

JUAREZ-VELASQUEZ, CONTRERAS, ORELLANA-ESTRADA, and other MS-13

members and associates sent money obtained from the extortion of the owners and operators of

illegal businesses to El Salvador. Often the money was sent to females in order to disguise the

origin of the money as well as the purpose of the funds (which was to support MS-13 in El

Salvador).

               c.     Between in or around 2016 and in or around 2017, ALVARADO-

REQUENO, CONTRERAS, and other MS-13 members and associates created and

disseminated rap songs promoting MS-13 on various social media platforms.




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               d.     On or about May 27, 2016, TEJADA-CRUZ sent $300 by Western Union

to a female in El Salvador.

               e.     On or about June 15, 2016, and June 16, 2016, ALVARADO-

REQUENO planned with and directed other MS-13 members and associates to murder Victim-

1, who was believed to be a member of the 18th Street gang.

               f.     Pursuant to the plan and as directed by ALVARADO-REQUENO, on or

about June 16, 2016, MS-13 members and associates murdered Victim-1 in Gaithersburg,

Maryland.

               g.     On or about July 23, 2016, TEJADA-CRUZ sent $300 by Western Union

to a female in El Salvador.

               h.     Between in or about 2015 and in or about 2018, in the Langley Park area

of Prince George's County, Maryland, TEJADA-CRUZ, HERNANDEZ-GUEVARA,

RODRIGUEZ, CONTRERAS, ORELLANA-ESTRADA, MENDEZ-LOPEZ, FLORES-

REYES and other MS-13 members and associates distributed marijuana, cocaine, and heroin,

the proceeds of which benefited the gang.

               i.     On or about July 29, 2016, TEJADA-CRUZ, HERNANDEZ-

GUEVARA, and other members and associates of MS-13 planned to murder Victim-2.

               j.     Pursuant to the plan to murder Victim-2, on or about July 29, 2016, two

members and associates of MS-13 lured Victim-2 (who was believed to be a rival gang member)

to a secluded location in Hyattsville, Maryland, and then TEJADA-CRUZ attempted to shoot

Victim-2 when Victim-2 arrived at the secluded location.




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              k.     On or about July 29, 2016, when Victim-2 attempted to flee, one of the

members and associates of MS-13 chased down Victim-2, and then TEJADA-CRUZ and other

members and associates of MS-13 stabbed Victim-2.

              1.     On or about July 29, 2016, HERNANDEZ-GUEVARA picked up the

shell casings from the shots fired by TEJADA-CRUZ at Victim-2.

              m.     On or about August 9, 2016, TEJADA-CRUZ, HERNANDEZ-

GUEVARA, and RODRIGUEZ planned to purchase marijuana to sell.

              n.     On or about August 9, 2016, HERNANDEZ-GUEVARA and

RODRIGUEZ entered a car in the Hyattsville, Maryland area with the intent of obtaining

marijuana.

              o.     On or about August 9, 2016, HERNANDEZ-GUEVARA and

RODRIGUEZ attempted to steal marijuana by brandishing a firearm and knife.

              p.     On or about August 9, 2016, during the course of the attempted robbery by

HERNANDEZ-GUEVARA and RODRIGUEZ, Victim-3 was shot and stabbed and Victim-4

was shot.

              q.     On or about August 9, 2016, when questioned regarding the robbery,

TEJADA-CRUZ provided false and misleading information to the police.

              r.     On or about October 26, 2016, JUAREZ-VELASQUEZ sent $200 by

Western Union to a female in El Salvador.

              s.     On or about October 31, 2016, JUAREZ-VELASQUEZ sent $100 by

Western Union to a female in El Salvador.




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              t.      On or about November 5, 2016, CONTRERAS sent $300 by Western

Union to a female in El Salvador.

              u.      On or about November 12, 2016, JUAREZ-VELASQUEZ sent $250 by

Western Union to a female in El Salvador.

              v.      On or about November 15, 2016, JUAREZ-VELASQUEZ sent $200 by

Western Union to a female in El Salvador.

              w.      On or about December 6, 2016, JUAREZ-VELASQUEZ sent $400 by

Western Union to a female in El Salvador.

              x.      On or about March 20, 2017, in the Langley Park area of Prince George's

County, Maryland, an MS-13 member and associate collected "rent" from Victim-5.

              y.      On or about March 27, 2017, CONTRERAS arranged for members of the

Sailors Clique of MS-13 to travel from Maryland to Lynchburg, Virginia, where they met with

other MS-13 members and associates.

              z.      On or about March 27, 2017, members and associates of the Sailors Clique

of MS-13, including persons who had traveled from Maryland as arranged by CONTRERAS,

murdered Victim-6 in Bedford County, Virginia.

              aa.     On or about April 10, 2017, in the Langley Park area of Prince George's

County, Maryland, an MS-13 member and associate collected "rent" from Victim-5.

              bb.    On or about April 30, 2017, in the Langley Park area of Prince George's

County, Maryland, an MS-13 member and associate collected "rent" from Victim-5.




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               cc.        In or around April 2017, MENDEZ-LOPEZ and another MS-13 member

and associate planned and discussed how they would have to kill a rival in order to be promoted

within the Sailors Clique of MS-13.

               dd.     In or around April 2017, MENDEZ-LOPEZ and another MS-13 member

and associate targeted Victim-7, a homeless person who was living in a wooden shed on an

electric line right of way in the Hyattsville, Maryland area, as a person to attack in order to be

promoted within the Sailors Clique of MS-13.

               ee.     In or around April or May of 2017, MENDEZ-LOPEZ aided and abetted

another MS-13 member who murdered Victim-7, by stabbing and beating him to death, leaving

the body of Victim-7 in the shed. The body of Victim-7 was found on or about May 15, 2017.

               ff.     In or around May or June of 2017, MENDEZ-LOPEZ and the other

MS-13 member and associate who participated in the murder of Victim-7, were promoted to the

rank of chequeo within the Sailors Clique of MS-13 as a result of their killing of Victim-7.

               gg.     On or about June 1, 2017, in the Adelphi area of Prince George's County,

Maryland, JUAREZ-VELASQUEZ, together with other members and associates of MS-13,

began exchanging words with Victim-8 and throwing MS-13 gang signs.

               hh.     On or about June 1, 2017, JUAREZ-VELASQUEZ shot Victim-8 in the

head, killing Victim-8.

                       Between on or about June 1, 2017, and on or about June 5, 2017,

ALVARADO-REQUENO and other MS-13 members and associates assisted JUAREZ-

VELASQUEZ in evading arrest for the murder of Victim-8.




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              ii.     On or about June 9, 2017, in the Langley Park area of Prince George's

County, Maryland, ORELLANA-ESTRADA collected "rent" from Victim-5.

              kk.    On or about June 15, 2017, ORELLANA-ESTRADA sent $400 by

Western Union to a female in El Salvador.

              11.    On or about June 16, 2017, in the Langley Park area of Prince George's

County, Maryland, ORELLANA-ESTRADA collected "rent" from Victim-5.

              mm.    On or about June 30, 2017, in the Langley Park area of Prince George's

County, Maryland, ORELLANA-ESTRADA collected "rent" from Victim-5.

              nn.    On or about July 21, 2017, in the Langley Park area of Prince George's

County, MENDEZ-LOPEZ collected "rent" from Victim-5.

              oo.    On or about August 4, 2017, in the Langley Park area of Prince George's

County, MENDEZ-LOPEZ collected "rent" from Victim-5.

              pp.    On or about September 16, 2017, SORIANA-HERNANDEZ,

C. CARDENAS-BANEGAS, W. CARDENAS-BANEGAS, and others, planned to murder

members of a rival gang in Riverdale, Maryland.

              qq.    Following the plan to murder rival gang members, on or about September

16, 2017, in Riverdale, Maryland, SORIANA-HERNANDEZ shot at Victim-9, an individual

whom he believed to be a rival gang member.

              rr.    Following their plan to murder rival gang members, on or about

September 16, 2017, in Riverdale, Maryland, C. CARDENAS-BANEGAS shot Victim-10 and

W. CARDENAS-BANEGAS stabbed Victim-10 multiple times, while Victim-10 was seated in

a car. C. CARDENAS-BANEGAS and W. CARDENAS-BANEGAS believed Victim-10 was



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a rival gang member. Victim-10 died as a result of being shot and stabbed by C. CARDENAS-

BANEGAS and W. CARDENAS-BANEGAS.

               ss.     On or about January 8, 2018, FLORES-REYES authorized and directed

the beating of an MS-13 member as discipline for infractions against the gang.

               ft.     On or about January 25, 2018, FLORES-REYES discussed with

members of MS-13 the purchase of a gun to get revenge against members of a rival gang who

were believed to have murdered an MS-13 member in Houston, Texas.

               uu.     On or about January 25, 2018, FLORES-REYES gave directions that

members of MS-13 in Houston, Texas should use the gun against rival gang members who were

believed to have murdered an MS-13 member.

               vv.     On or about January 27, 2018, FLORES-REYES gave directions that

members of MS-13 in Houston, Texas should shoot the targeted rival gang members if they

wanted to be promoted.

               ww.     On or about January 28, 2018, members of MS-13 in Houston, Texas shot

at and attempted to kill suspected rival gang members while FLORES-REYES and other MS-13

members, including MS-13 members in El Salvador, monitored the shooting by phone.

               xx.     On or about January 28, 2018, FLORES-REYES informed members of

MS-13 in Houston, Texas that they were required to confirm whether they had killed the targets

of the shooting that day.




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                      Special Sentencing Factors Regarding Count One

       27.     On or about June 15, 2016, and June 16, 2016, in the District of Maryland,

ALVARADO-REQUENO unlawfully conspired with others known and unknown to the Grand

Jury to feloniously, willfully, and with deliberately premeditated malice, murder Victim-1, in

violation of Maryland Code, Criminal Law § 2-201(a)(1), and the common law of Maryland, and

punishable pursuant to Maryland Code Criminal Law § 1-202.

       28.     On or about July 29, 2016, in the District of Maryland, TEJADA-CRUZ and

HERNANDEZ-GUEVARA unlawfully conspired with each other and others known and

unknown to the Grand Jury to feloniously, willfully, and with deliberately premeditated malice,

murder Victim-2, in violation of Maryland Code, Criminal Law § 2-201(a)(1), and the common

law of Maryland, and punishable pursuant to Maryland Code Criminal Law § 1-202.

       29.    On or about July 29, 2016, in the District of Maryland, TEJADA-CRUZ and

HERNANDEZ-GUEVARA feloniously, willfully, and with deliberately premeditated malice,

murdered Victim-2, in violation of Maryland Code, Criminal Law § 2-201(a)(1).

       30.     On or about June 1, 2017, in the District of Maryland, JUAREZ-VELASQUEZ

feloniously, willfully, and with deliberately premeditated malice, murdered Victim-8, in

violation of Maryland Code, Criminal Law § 2-201(a)(1).

       31.    On or about September 16, 2017, SORIANA-HERNANDEZ, C. CARDENAS-

BANEGAS, and W. CARDENAS-BANEGAS unlawfully conspired with each other and others

known and unknown to the Grand Jury to feloniously, willfully, and with deliberately

premeditated malice, murder Victim-9 and Victim-10, in violation of Maryland Code, Criminal




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Law § 2-201(a)(1), and the common law of Maryland, and punishable pursuant to Maryland

Code Criminal Law § 1-202.

       32.     On or about September 16, 2017, SORIANA-HERNANDEZ feloniously,

willfully and with deliberately premeditated malice, attempted to murder Victim-9, in violation

of Maryland Code, Criminal Law §§ 2-201(a)(1), and the Common Law of Maryland, and

punishable pursuant to Maryland Code, Criminal Law § 2-205.

       33.    On or about September 16, 2017, C. CARDENAS-BANEGAS, and

W. CARDENAS-BANEGAS feloniously, willfully, and with deliberately premeditated malice,

murdered Victim-10, in violation of Maryland Code, Criminal Law § 2-201(a)(1).



18 U.S.C. § 1962(d)
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                                     COUNT TWO
                   (Conspiracy to Commit Murder in Aid of Racketeering)

                 The Grand Jury for the District of Maryland further charges that:

       1.      Paragraphs 1 through 22 and 26(i) through (1) of Count One of this Sixth

Superseding Indictment are incorporated herein.

       2.      MS-13, including its leaders, members, and associates, constituted an enterprise,

as defined in Title 18, United States Code, Section 1959(b)(2), that is, a group of individuals

associated in fact that engaged in, and the activities of which affected, interstate and foreign

commerce. The enterprise constituted an ongoing organization whose members functioned as a

continuing unit for a common purpose of achieving the objectives of the enterprise.

The above-described enterprise, MS-13, through its members and associates, engaged in

racketeering activity as defined in Title 18, United States Code, Sections 1959(b)(1) and 1961(1),

namely, (1) multiple acts involving murder, in violation of Maryland Code, Criminal Law

§§ 1-201, 1-202, 2-201, 2-204, 2-205, and 2-206, and the Common Law of Maryland, punishable

pursuant to Maryland Code, Criminal Law §§ 1-201, 1-202, 2-201, 2-204, 2-205, and 2-206;

(2) multiple acts involving extortion, in violation of Maryland Code, Criminal Law §§ 3-701 and

3-705, and the Common Law of Maryland; (3) multiple acts involving robbery, in violation of

Maryland Code, Criminal Law §§ 3-402 and 3-403; and (4) multiple offenses involving drug

trafficking in violation of 21 U.S.C. §§ 841 and 846.

       3.      On or about July 29, 2016, in the District of Maryland and elsewhere, the

defendants,

                            CARLOS ROBERTO TEJADA-CRUZ,
                             a/k/a Milton Ernesto Cabrera-Cruz,
                                     a/k/a "Krusty," and


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                         KEVIN ALEXIS HERNANDEZ-GUEVARA,
                                     a/k/a "Stop,"

for the purpose of gaining entrance to and maintaining and increasing position in MS-13, an

enterprise engaged in racketeering activity, did knowingly and willfully combine, conspire,

confederate and agree with each other and others known and unknown to the Grand Jury to

murder Victim-2, in violation of Maryland Code, Criminal Law §§ 2-201, 2-204, and 1-202, and

the Common Law of Maryland, all in violation of 18 U.S.C. § 1959(a)(5).



18 U.S.C. § 1959(a)(5)




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                                    COUNT THREE
 (Conspiracy to Distribute and to Possess with Intent to Distribute Controlled Substances)

       The Grand Jury for the District of Maryland further charges that:

       1.      Beginning at least in or about January 2017, and continuing through at least on or

about January 30, 2018, in the District of Maryland and elsewhere, the defendants,

                            MICHAEL EDUARDO CONTRERAS,
                                       a/k/a "Katra,"
                                   a/k/a "Insoportable,"
                             LUIS ARNOLDO FLORES-REYES,
                                      a/k/a "Maloso,"
                                       a/k/a "Lobo,"

did knowingly combine, conspire, confederate, and agree with each other and others known and

unknown to the Grand Jury to distribute and to possess with the intent to distribute: (1) a mixture

and substance containing a detectable amount of marijuana, a Schedule I controlled substance;

(2) a mixture and substance containing a detectable amount of cocaine, a Schedule II controlled

substance; and (3) 100 grams or more of a mixture and substance containing a detectable amount

of heroin, a Schedule I controlled substance, in violation of Title 21, United States Code, Section

841(a)(1).



21 U.S.C. § 846




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                                       COUNT FOUR
              (Conspiracy to Interfere with Interstate Commerce by Extortion)

       The Grand Jury for the District of Maryland farther charges that:

       At all times relevant to this Sixth Superseding Indictment:

                                          Introduction

       1.      La Mara Salvatrucha, also known as the MS-13 gang ("MS-13"), was an

international criminal enterprise that was active throughout the United States. In the

Washington, D.C. metropolitan area, including in Prince George's County, Maryland, MS-13

generated income from various sources, including the extortion of sums of money from persons

who engaged in business activities such as controlled substances sales, illegal brothels, and

unlicensed "stores" where items such as food, alcoholic beverages, and cigarettes were sold.

        2.     LUIS FERNANDO ORELLANA-ESTRADA, a/k/a "Pinguino," DONALD

ROBERTO MENDEZ-LOPEZ, a/k/a "Chuckie," and LUIS ARNOLDO FLORES-REYES,

a/k/a "Maloso," a/k/a "Lobo," were members and associates of MS-13 and the "Sailors" clique

of MS-13.

       3.      Victim-5 operated a business that affected interstate commerce.

                                           The Charge

       4.      Beginning at least in or about June 2017, and continuing through at least on or

about August 10, 2017, in the District of Maryland and elsewhere, the defendants,

                        LUIS FERNANDO ORELLANA-ESTRADA,
                                   a/k/a "Pinguino,"
                         DONALD ROBERTO MENDEZ-LOPEZ,
                                 a/k/a "Chuckle," and
                           LUIS ARNOLDO FLORES-REYES,
                                    a/k/a "Maloso,"
                                     a/k/a "Lobo,"


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did knowingly combine, conspire, confederate, and agree with each other and others known and

unknown to the Grand Jury to obstruct, delay, and affect commerce and the movement of any

article and commodity in commerce by extortion, as those terms are defined in 18 U.S.C. § 1951,

to wit, the defendants conspired to obtain the property of Victim-5, with Victim-5's consent

induced by the wrongful use of actual and threatened force, violence, and fear.



18 U.S.C. § 1951(a)




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                                FORFEITURE ALLEGATIONS

       The Grand Jury for the District of Maryland further finds that:

       1.      Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendants that the

United States will seek forfeiture as part of any sentence in accordance with Title 18, United States

Code, Sections 981(a)(1)(C) and 1963(a); Title 21, United States Code, Section 853; and Title 28,

United States Code, Section 2461(c), in the event of the defendants' convictions on Counts One,

Three, and Four of this Sixth Superseding Indictment.

                                        RICO Forfeiture

       2.      Pursuant to Title 18, United States Code, Section 1963(a)(1) and (3), upon a

conviction of an offense in violation of Title 18, United States Code, Section 1962, as alleged in

Count One of this Sixth Superseding Indictment, the defendants,

                         CARLOS ROBERTO TEJADA-CRUZ,
                           a/k/a Milton Ernesto Cabrera-Cruz,
                                      a/k/a "Krusty,"
                       KEVIN ALEXIS HERNANDEZ-GUEVARA,
                                        a/k/a "Stop,"
                      ROLANDO ARISTIDES JUAREZ-VELASQUEZ
                         a/k/a Rolando Aristides Juarez-Vasquez,
                                       a/k/a "Virus,"
                                       a/k/a "Daffy,"
                                 JEFFRY RODRIGUEZ,
                                      a/k/a "Hyper,"
                        JUNIOR NOE ALVARADO-REQUENO,
                                     a/k/a "Insolente,"
                                     a/k/a "Trankilo,"
                         MICHAEL EDUARDO CONTRERAS,
                                       a/k/a "Katra,"
                                   a/k/a "Insoportable,"
                       LUIS FERNANDO ORELLANA- ESTRADA,
                                     a/k/a "Pinguino,"
                        DONALD ROBERTO MENDEZ-LOPEZ,
                                     a/k/a "Chuckle,"



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                       KEVIN ALEXANDER SORIANA-HERNANDEZ,
                                     a/k/a "Brosha,',
                        CARLOS DANIEL CARDENAS-BANEGAS,
                                     a/k/a "Perrico,"
                           WILFREDO CARDENAS-BANEGAS,
                                   a/k/a "Torro," and
                           LUIS ARNOLDO FLORES-REYES,
                                   a/k/a "Maloso,"
                                    a/kJa "Lobo,"

shall forfeit to the United States of America any interest acquired and maintained in violation of

Title 18, United States Code, Section 1962, which interests are subject to forfeiture to the United

States pursuant to Title 18, United States Code, Section 1963(a)(1); and any property constituting,

or derived from, any proceeds obtained, directly or indirectly, from racketeering activity in

violation of Title 18, United States Code, Section 1962, which property is subject to forfeiture to

the United States pursuant to Title 18, United States Code, Section 1963(a)(3).

                                        Narcotics Forfeiture

        3.      Pursuant to Title 21, United States Code, Section 853(a), upon conviction of an

offense in violation of the Controlled Substances Act, as alleged in Count Three of this Sixth

Superseding Indictment, the defendants,

                             MICHAEL EDUARDO CONTRERAS,
                                        a/k/a "Katra,"
                                    a/k/a "Insoportable,"
                              LUIS ARNOLDO FLORES-REYES,
                                       a/k/a "Maloso,"
                                        a/k/a "Lobo,"

shall forfeit to the United States of America:

             a. any other property constituting, or derived from, any proceeds obtained, directly

or indirectly, as the result of such violations; and




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             b. any property used or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, such violations.

                                         Extortion Forfeiture

        4.      Pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United

States Code, Section 2461, upon a conviction of an offense in violation of Title 18, United States

Code, Section 1951(a), as alleged in Count Four of this Sixth Superseding Indictment, the

defendants,

                          LUIS FERNANDO ORELLANA-ESTRADA,
                                     a/k/a "Pinguino,"
                           DONALD ROBERTO MENDEZ-LOPEZ,
                                   a/k/a "Chuckie," and
                             LUIS ARNOLDO FLORES-REYES,
                                      a/k/a "Maloso,"
                                       a/k/a "Lobo,"

shall forfeit to the United States, all property constituting, or derived from, proceeds obtained,

directly or indirectly, as a result of such violation.

                                          Substitute Assets

        5.      If any of the property described above, as a result of any act or omission of the

defendants:

                a.      cannot be located upon the exercise of due diligence;

                b.      has been transferred or sold to, or deposited with, a third party;

                c.      has been placed beyond the jurisdiction of the court;

                d.      has been substantially diminished in value; or

                e.      has been commingled with other property which cannot be divided without

                        difficulty,



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the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

18 United States Code, Section 1963(m) and Title 21, United States Code, Section 853(p).



18 U.S.C. §§ 981(a)(1)(C), 1963
21 U.S.C. § 853
28 U.S.C. § 2461(c)



                                                       ephen M. Schenning
                                                      Acting United States Attorney

A TRUE BILL:

SIGNATURE REDACTED
                                                      Date:
Fotpperson
                                  vTh




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